       Case 1:18-cr-00258-BLW Document 1404 Filed 04/22/22 Page 1 of 3




                       UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA
                                              Case No. 1:18-cr-00258-BLW

          Plaintiff,                          MEMORANDUM DECISION
                                              AND ORDER RE: MOTION TO
           v.                                 SUPPRESS EVIDENCE SEIZED
                                              FROM DEVICES 2-15 AND 2-16
 DAVID BIBIKOV,                               (DKT. 1353)

          Defendant.



      Before the Court is Defendant David Bibikov’s Motion to Suppress

Evidence Seized from Devices 2-15 and 2-16. (Dkt. 1353.) The Court will deny the

motion.

      Under the law of the case doctrine, “[i]ssues that a district court determines

during pretrial motions become law of the case.” United States v. Phillips, 367

F.3d 846, 856 (9th Cir. 2004). A court may, however, have discretion to depart

from the law of the case if there has been an intervening change in the law, the

prior decision was clearly erroneous, there has been a change in circumstances, or

manifest injustice would otherwise result. See United States v. Alexander, 106 F.3d

874, 876 (9th Cir. 1997).



MEMORANDUM DECISION AND ORDER - 1
       Case 1:18-cr-00258-BLW Document 1404 Filed 04/22/22 Page 2 of 3




      Here, as Mr. Bibikov points out, devices 2-15 and 2-16 were seized from

one of the Bridger Street warehouses. (See Dkt. 1353 at 2.) The Court has

previously held that Defendants, including Mr. Bibikov, lack standing to challenge

the search warrants for those warehouses and the seizure and search of devices

located in those warehouses. (Dkt. 595 at 14-15 (“Here, there is no evidence . . . of

the [Defendants’] personal connection to the Bridger Street Warehouses, nor the

devices seized therein. Therefore, the Defendants lack standing to challenge the

search warrants for those warehouses.”).)

      Mr. Bibikov has not argued, let alone demonstrated, that the Court’s

previous ruling constitutes clear error, that there has been an intervening change in

the law, or that manifest injustice would result if the Court applies the law of the

case doctrine. Further, the only change in circumstance cited by Mr. Bibikov is that

the Government re-imaged devices 2-15 and 2-16 almost a year after the devices

were initially seized from the Bridger Street warehouses. The re-imaging of the

devices is not a relevant change in circumstances as it does not create standing

where none existed to start with. Accordingly, under the law of the case,

Mr. Bibikov lacks standing to challenge the re-imaging of devices 2-15 and 2-16

and whether such re-imaging fell within the scope of the initial search warrant.




MEMORANDUM DECISION AND ORDER - 2
      Case 1:18-cr-00258-BLW Document 1404 Filed 04/22/22 Page 3 of 3




                                    ORDER

     IT IS ORDERED that Defendant David Bibikov’s Motion to Suppress (Dkt.

1353) is DENIED.


                                        DATED: April 22, 2022


                                        _________________________
                                        B. Lynn Winmill
                                        U.S. District Court Judge




MEMORANDUM DECISION AND ORDER - 3
